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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF INDIANA
                                        FORT WAYNE DIVISION

IN THE MATTER OF                          )
                                          )       BANKRUPTCY CASE 18-11219
TYLYNN WALTERS MOORE                      )            Chapter 7
            Debtor.                       )

                                       OBJECTION TO EXEMPTIONS

        COMES NOW the Trustee, Yvette Gaff Kleven, and objects to the exemptions claimed by the

Debtor in Universal Life Insurance, and in support thereof, states the following:

        1. This matter commenced by the filing of a Voluntary Petition under Chapter 7 of the Bankruptcy

Code on June 29, 2018.

        2. Yvette Gaff Kleven was appointed Trustee.

        3. The Debtor has claimed as exempt Universal Life Insurance in the approximate cash value of

$1,900.00 pursuant to I.C. § 27-1-12-14 & 27-2-5-1(c).

        4. The Debtor has failed to provide the Trustee with documentation verifying that this exemption is

properly taken.

        WHEREFORE, Trustee, Yvette Gaff Kleven, objects to the exemptions claimed by the Debtor in

Universal Life Insurance, prays that said exemptions be denied, and for all other just and proper relief on

the premises.

                                                  Respectfully submitted,

                                                  /S/Yvette Gaff Kleven, #8373-02
                                                  Yvette Gaff Kleven, Chapter 7 Trustee
                                                  111 West Wayne Street
                                                  Fort Wayne, Indiana 46802
                                                  Telephone: (260) 407-7077
                                                  ygk@adelspergerkleven.com
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                                        CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on August 14, 2018 a true and correct copy of the above

and foregoing was transmitted electronically through the Bankruptcy Court’s ECF System to:

United States Trustee, USTPRegion10.SO.ECF@usdoj.gov

Steven J. Glaser, Attorney at Law, glaser.bankruptcy@frontier.com

and was sent via first class United States mail, postage prepaid, to:

TyLynn Walters Moore, 7227 Moeller Rd., #142, Fort Wayne, IN 46806

                                                  /S/Yvette Gaff Kleven, #8373-02
                                                  Yvette Gaff Kleven, Chapter 7 Trustee
                                                  111 West Wayne Street
                                                  Fort Wayne, Indiana 46802
                                                  Telephone: (260) 407-7077
                                                  ygk@adelspergerkleven.com
